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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

 

IN RE BROILER CHICKEN ANTITRUST
LITIGATION Case No. 1:16-cv-08637

Hon. Thomas M. Durkin
This Document Relates To:

Direct Purchaser Actions Magistrate Judge Jeffrey T. Gilbert

 

 

ORDER GRANTING DIRECT PURCHASER PLAINTIFFS’ MOTION TO APPROVE
A PLAN OF NOTICE OF SETTLEMENT WITH DEFENDANT FIELDALE FARMS
CORPORATION

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This Court having reviewed and considered Direct Purchaser Plaintiffs’ Motion to
Approve a Plan of Notice of Settlement With Defendant Fieldale Farms Corporation (“Motion’’)

and finding good cause hereby grants the motion as set forth below.

. FINDINGS:

1. The Court having previously entered an Order Preliminarily Approving Proposed
Settlement Between Direct Purchaser Plaintiff Class And Fieldale Farms Corporation And
Conditionally Certifying The Proposed Settlement Class (ECF No. 462), hereby directs notice to
be distributed to the Settlement Class Members pursuant to Federal Rule of Civil Procedure
(“Rule”) 23(c)(2).

2. The proposed notice plan set forth in the Motion and the supporting declarations
comply with Rule 23(c)(2)(B) and due process as it constitutes the best notice that is practicable

under the circumstances, including individual notice vial mail and email to all members who can

- be identified through reasonable effort. The direct mail and email notice will be supported by

reasonable publication notice to reach class members who could not be individually identified.

3. The attached proposed notice documents: Summary Publication Notice (Exhibit
A), Email Notice (Exhibit B), and Long Form Notice (Exhibit C), and their manner of
transmission, comply with Rule 23(c)(2)(B) and due process because the notices and forms are
reasonably calculated to adequately apprise class members of (i) the nature of the action; (ii) the
definition of the class certified; (iii) the class claims, issues, or defenses; (iv) that a class member
may enter an appearance through an attorney if the member so desires; (v) that the court will
exclude from the class any member who requests exclusion; (vi) the time and manner for
requesting exclusion; and (vii) the binding effect of a class judgment on members under Rule
23(c)(3). Non-substantive changes, such as typographical errors, can be made to the notice
documents by agreement of the parties without leave of the Court.

4. The Court hereby sets the below schedule for the dissemination of notice to the
class and for the Court’s Fairness Hearing, at which time the Court will determine whether the

Settlement Agreement should be finally approved as fair, reasonable, and adequate. This Court

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may order the Fairness Hearing to be postponed, adjourned, or continued. If that occurs, the

updated hearing date shall be posted on the Settlement Website but other than the website

posting the Parties will not be required to provide any additional notice to Class Members.

 

DATE

EVENT

 

1. July 20, 2018

Each Defendant to produce customer names,
addresses, phone numbers and email
addresses, to the extent the Defendant has that
information in its structured transactional data
or other sources as agreed, to Direct
Purchaser Plaintiffs and the Settlement
Administrator. !

 

2. August 16, 2018

Settlement Administrator to provide direct
mail and email notice, and commence the
publication notice plan

 

3. October 15, 2018

Last day for Settlement Class Members to
request exclusion from the Settlement Class
and for Settlement Class Members to object
to the settlement

 

4. October 25, 2018

Class Counsel shall file with the Court a list
of all persons and entities who have timely
requested exclusion from the Settlement Class

 

5 October 29, 2018

Class Counsel shall file motion for final
approval of settlement and all supporting
papers, and Class Counsel and settling
defendant Fieldale Farms may respond to any
objections to the proposed settlement.

 

 

6. November 13, 2018 at 9:00 a.m.

Final Settlement Fairness Hearing

 

 

IT IS SO ORDERED.

DATED:

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mod.

 

HON. THOMAS M. DURKIN

' To the extent that any Defendant relies on its transactional structured data to produce
customer contact information, it must identify these documents by bates number to Direct
Purchaser Plaintiffs and the Settlement Administrator by July 20, 2018 and ensure that the
customer contact information is readily identifiable and accessible.

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UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF ILLINOIS

 

If you purchased Broiler chicken directly from a Broiler
Chicken Producer for use or delivery in the United States
from January 1, 2008 through August 18, 2017,

a class action settlement may affect your rights.

A federal court authorized this notice. This is not a solicitation from a lawyer.

e A settlement has been reached in a class action antitrust lawsuit filed on behalf of Direct Purchaser Plaintiffs
(“Plaintiffs”) with Defendant Fieldale Farms Corporation (“Fieldale Farms” or “Settling Defendant”). This
Settlement only applies to Fieldale Farms and does not dismiss claims against other Defendants in the case
entitled In re Broiler Chicken Antitrust Litigation, N.D. Ill. Case No. 1:16-cv-08637.

e The Court has not decided whether Fieldale Farms did anything wrong, and Fieldale Farms denies any
wrongdoing.

e If approved by the Court, the Settlement will resolve a lawsuit over whether Fieldale Farms combined and
conspired in restraint of trade, the purpose and effect of which was to suppress competition and to allow Fieldale
Farms and other Broiler chicken producers to charge supra-competitive prices for Broilers during the Class
Period, in violation of federal law. If approved, the Settlement will avoid litigation costs and risks to Direct
Purchaser Plaintiffs and Fieldale Farms, and will release Fieldale Farms from liability to the class of Direct
Purchaser Plaintiffs.

e The Settlement requires Fieldale Farms to pay $2,250,000. In addition to this monetary payment, Fieldale Farms
has agreed to cooperate in good faith with Direct Purchaser Plaintiffs in the ongoing litigation against the non-
settling Defendants, including producing documents and other relevant information.

e Your legal rights are affected whether you act or don’t act. Please read this notice carefully.

 

Write to the Court about why you don’t like the Settlement. Objections

 

 

OBJECT must be postmarked or received by October 15, 2018.
ATTEND THE Ask to speak in Court about the fairness of the Settlement.
FAIRNESS HEARING
You will remain part of the Settlement, and you may participate in any
Do NOTHING monetary distribution to qualified purchasers. The Settlement will resolve

your claims against Fieldale and you will give up your rights to sue Fieldale
about the legal claims in this case. You will be bound by the judgment.

 

This is the only option that allows you ever to be part of any other lawsuit
ASK TO BE EXCLUDED against Fieldale Farms about the legal claims in this case. Requests for
Exclusion must be postmarked or received by October 15, 2018.

 

 

 

 

e Questions? Read on and visit www.broilerchickenantitrustlitigation.com or call toll-free 1-866-552-1178.
 

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BASIC INFORMATION

 

1. Why did I receive a notice? _

All Defendants including Fieldale Farms produce Broiler chicken. Defendants’ records show that you may have
purchased Broiler chicken products directly from one or more of the Defendants for use and delivery in the United
States between January 1, 2008 and August 18, 2017. The list of Defendants is in Section 2 below. The Court
authorized this notice because you have a right to know about the proposed settlement of certain claims against
Fieldale in this class action lawsuit and about your options before the Court decides whether to approve the class
action settlement between Defendant Fieldale Farms and Direct Purchaser Plaintiffs (“Settlement”). If the Court
approves it, and after objections and appeals are resolved, you will be bound by the judgment and terms of the
Settlement. This notice explains the lawsuit, the Settlement, and your legal rights.

2. What is this lawsuit about? ©

 

This class action is called In re Broiler Chicken Antitrust Litigation, N.D. Ill. Case No. 1:16-cv-08637 and is pending
in the United States District Court for the Northern District of Illinois. U.S. District Court Judge Thomas M. Durkin is
in charge of this class action.

Questions? Call the Settlement Administrator toll-free at 1-866-552-1178 or visit www.broilerchickenantitrustlitigation.com.
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Direct Purchaser Plaintiffs allege that Defendants and their co-conspirators conspired and combined to fix, raise,
maintain, and stabilize the price of Broilers, beginning at least as early as January 2008, and that their principal method
for doing this was to coordinate their output and limit production, with the intent and expected result of increasing
prices of Broilers in the United States, in violation of federal antitrust laws.

The Defendants and co-conspirators named in Direct Purchaser Plaintiffs’ Second Consolidated Amended Complaint
are producers of Broiler chicken and Broiler chicken products in the United States. The Defendants are: Fieldale
Farms; Koch Foods, Inc.; JCG Foods of Alabama, LLC; JCG Foods of Georgia, LLC; Koch Meat Co., Inc.; Tyson
Foods, Inc.; Tyson Chicken, Inc.; Tyson Breeders, Inc.; Tyson Poultry, Inc.; Pilgrim’s Pride Corporation; Perdue
Farms, Inc.; Perdue Foods LLC; Sanderson Farms, Inc.; Wayne Farms, LLC; Mountaire Farms, Inc.; Mountaire
Farms, LLC; Mountaire Farms of Delaware, Inc.; Peco Foods, Inc.; Foster Farms, LLC; House of Raeford Farms, Inc.;
Simmons Foods, Inc.; George’s, Inc.; George’s Farms, Inc.; O.K. Foods, Inc.; O.K. Farms, Inc.; O.K. Industries, Inc.;
Claxton Poultry Farms, Inc.; Norman W. Fries, Inc.; Harrison Poultry, Inc.; Mar-Jac Poultry, Inc.; Mar-Jac Poultry
MS, LLC; Mar-Jac Poultry AL, LLC; Mar-Jac AL/MS, Inc.; Mar-Jac Poultry, LLC; Mar-Jac Holdings, LLC; and their
related entities.

Direct Purchaser Plaintiffs have reached a proposed settlement with one Defendant, Fieldale Farms, but the Direct
Purchasers’ case is proceeding against all other Defendants. If applicable, you will receive a separate notice regarding
the progress of the litigation and any resolution of claims against other Defendants.

Settling Defendant Fieldale Farms vigorously and affirmatively denies all allegations of wrongdoing in this lawsuit
and would allege numerous defenses to Plaintiffs’ claims if the case against it were to proceed. Despite its belief that it
is not liable for, and has strong defenses to, the Claims asserted by the Direct Purchaser Plaintiffs, Fieldale agreed to
settle this action to avoid the further expense, inconvenience, disruption, and burden of this litigation and any other
present or future litigation arising out of the facts that gave rise to this litigation, to avoid the risks inherent in uncertain
complex litigation and trial, and thereby to put to rest this controversy.

 

 

3. What is a class action, and who is involved? |

 

In a class action lawsuit, one or more people or businesses called class representatives sue on behalf of others who
have similar claims, all of whom together are a “class.” Individual class members do not have to file a lawsuit to
participate in the class action Settlement, or be bound by the judgment in the class action. One court resolves the
issues for everyone in the class, except for those who exclude themselves from the class.

4. Why is there a settlement?

 

 

The Court did not decide in favor of Direct Purchaser Plaintiffs or Fieldale Farms. Direct Purchaser Plaintiffs believe
they may have won at trial and possibly obtained a greater recovery. Fieldale Farms believes the Direct Purchaser
Plaintiffs may not have won at a trial. But trials involve risks to both sides, and therefore Direct Purchaser Plaintiffs
and Fieldale Farms have agreed to a settlement. The Settlement requires Fieldale Farms to pay money, as well as
cooperate with Direct Purchaser Plaintiffs. This cooperation includes producing relevant documents, making current
or former employees available for interviews and depositions, and providing a description of certain facts known to
Fieldale that the Direct Purchaser Plaintiffs contend are relevant to the conduct at issue in the litigation. Direct
Purchaser Plaintiffs and their attorneys believe the Settlement is in the best interests of all Class Members.

   

5. What if you received previous communications regarding this lawsuit?

 

You may have received other communications regarding this lawsuit, including solicitations by other attorneys seeking
to represent you as a Direct Action Plaintiff in an individual lawsuit against Defendants. These communications were
not approved by the Court and did not come from Court-appointed Plaintiffs’ Class Counsel. You should carefully
review this notice and your rights as a Class Member before deciding whether to opt out or stay in the Class. If you
have questions about this litigation and your rights as a Class Member, please contact Co-Lead Class Counsel whose
contact information is listed in question 15 below.

Questions? Call the Settlement Administrator toll-free at 1-866-552-1178 or visit www.broilerchickenantitrustlitigation.com.
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WHO IS IN THE CLASS

6. Am I part of the Class?

 

 

 

The Court decided that, for settlement purposes, Class Members are defined as:

All persons (including businesses and companies) who purchased Broilers directly from any of the Defendants
or any co-conspirator identified in this notice, or their respective subsidiaries of affiliates, for use or delivery in
the United States from at least as early as January 1, 2008 until August 18, 2017.

If you satisfy these criteria, then you are a Class Member, subject to the exception listed in Section 7 below.

While this Settlement is only with Fieldale Farms, the Class includes persons (including businesses and
companies) who purchased Broiler chicken from any of the Defendants or their co-conspirators. If you are a Class
Member and do not exclude yourself, you may be eligible to participate in any additional settlements which may
arise with any other Defendants in the case.

7. Are there exceptions to being included?

 

Yes. Specifically excluded from this Class are the Defendants, the officers, directors or employees of any Defendant;
any entity in which any Defendant has a controlling interest; and any affiliate, legal representative, heir, or assign of
any Defendant. Also excluded from this Class are any federal, state, or local governmental entities, any judicial officer
presiding over this action and the members of his/her immediate family and judicial staff, any juror assigned to this
action, and any co-conspirator.

If you are in one of these categories, you are not a Class Member and not eligible to participate in the Settlement.

 

[§. I’mstill not sureif I’m included.

 

 

 

If you are still not sure if you are included, please review the detailed information contained in the Settlement
Agreement, available for download at www. broilerchickenantitrustlitigation.com. You may also call the Settlement
Administrator at 1-866-552-1178 or call or write to Co-Lead Counsel at the phone numbers or addresses listed in
question 15 below.

THE FIELDALE SETTLEMENT BENEFITS
9. What does the Fieldale Settlement provide?

 

If the Settlement is approved, Fieldale Farms will pay $2,250,000 to resolve all Direct Purchaser Class Members’
claims against it in this litigation against Fieldale Farms. In addition to this monetary benefit, Fieldale Farms has also
agreed to cooperate in good faith with Direct Purchaser Plaintiffs in the litigation against the other Defendants. This
cooperation includes producing relevant documents; making current or former employees available for interviews and
depositions; and providing a description of the principal facts known to Fieldale Farms that are relevant to the
litigation.

 

 

10. What are the Fieldale Settlement benefits being used for?

 

 

 

 

A portion of the Settlement proceeds are being used for the administration of the Notice by the Settlement
Administrator. The remainder of the Settlement proceeds will remain available for any future notice, distribution to
Class Members, or attorneys’ fees, litigation expenses, and incentive awards to Plaintiffs and their counsel. At this
time, Plaintiffs and their counsel are not seeking any attorneys’ fees, non-administration expenses, or incentive awards
from the Settlement proceeds. However, they may do so in the future, subject to additional notice to you and approval
by the Court. Class Counsel do not intend to distribute any proceeds from the Fieldale Settlement to qualifying Class
Members at this time, but instead intend to combine any distribution of the Fieldale Settlement proceeds with proceeds
from future settlements or other recoveries in the litigation. You will be provided further notice of any such future
settlements or recoveries.

Questions? Call the Settlement Administrator toll-free at 1-866-552-1178 or visit www.broilerchickenantitrustlitigation.com.
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11. What am I giving up by staying in the Settlement Class?

 

Unless you exclude yourself, you are staying in the Settlement Class, which means that you can’t sue, continue to sue,
or be part of any other lawsuit against Fieldale Farms that pertains to the same legal issues in this case. It also means
that all of the Court’s orders will apply to you and legally bind you. The Released Claims are detailed in the
Settlement Agreement, available at www. broilerchickenantitrustlitigation.com.

You are not releasing your claims against any Defendant other than Fieldale Farms by staying in the lawsuit.

 

 

12. What happens if I do nothing at all?

 

 

If you do nothing, you will remain a member of the Settlement Class, and participate in this settlement and any future
settlements or judgments obtained by Direct Purchaser Plaintiffs.

EXCLUDING YOURSELF FROM THE SETTLEMENT
13. How do I exclude myself from the Fieldale Settlement?

   

If you do not want the benefits offered by the Fieldale Settlement and you do not want to be legally bound by the terms
of the Settlement, or if you wish to pursue your own separate lawsuit against Fieldale, you must exclude yourself by
submitting a written request to the Settlement Administrator stating your intent to exclude yourself from the Settlement
Class. Your Exclusion Request must include the following: (a) your name, including the name of your business which
purchased Broiler chicken, and address; (b) a statement that you want to be excluded from the Settlement Class in Jn
re: Broiler Chicken Antitrust Litigation; and (c) your signature. You must mail or email your Exclusion Request,
postmarked or received by October 15, 2018, to: Broiler Chicken Antitrust Litigation, c/o JND Legal Administration,
PO Box 91343, Seattle, WA 98111 or info@broilerchickenantitrustlitigation.com.

| 14. If I don’t exclude myself, can I sue Fieldale Farms for the same thing later?

No. Unless you exclude yourself, you give up the right to sue Fieldale Farms for the same claims that the Settlement
resolves. If you have a pending lawsuit against Fieldale Farms, speak to your lawyer in that lawsuit immediately to
determine whether you must exclude yourself from this Settlement Class to continue your own lawsuit against Fieldale
Farms.

 

 

 

By staying in the lawsuit you are not releasing your claims in this case against any Defendant other than Fieldale
Farms.

OBJECTING TO THE SETTLEMENT
15. How do I tell the Court that I don’t like the Settlement?

   

If you are a Class Member and have not excluded yourself from the Settlement, you can object to the Settlement if you
don’t like part or all of it. The Court will consider your views.

To object, you must send a letter or other written statement saying that you object to the Direct Purchaser Plaintiffs’
Settlement with Fieldale Farms in In re: Broiler Chicken Antitrust Litigation and the reasons why you object to the
Settlement. Be sure to include your full name, the name of your business which purchased Broiler chicken, current
mailing address, and email address. Your objection must be signed. You may include or attach any documents that
you would like the Court to consider. Do not send your written objection to the Court or the judge. Instead, mail the
objection to the Settlement Administrator, Co-Lead Counsel, and Counsel for Settling Defendant at the addresses listed
below. Your objection must be postmarked no later than October 15, 2018.

 

Settlement Administrator: Direct Purchaser Plaintiffs’ Counsel for Settling Defendant
Co-Lead Counsel: Fieldale Farms:
Broiler Chicken Antitrust Litigation W. Joseph Bruckner B. Parker Miller
c/o JND Legal Administration LOCKRIDGE GRINDAL NAUEN P.L.L.P. Valarie C. Williams

Questions? Call the Settlement Administrator toll-free at 1-866-552-1178 or visit www.broilerchickenantitrustlitigation.com.
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16. What is the difference between excluding myself and objecting?

   

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PO Box 91343 100 Washington Ave. S., Ste. 2220 James Cash
Seattle, WA 98111 Minneapolis, MN 55401 Max Marks
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San Francisco, CA 94104

(877) 391-8300

 

 

 

 

 

 

Objecting is telling the Court that you do not like something about the Settlement. You can object only if you do not
exclude yourself from the Class. Excluding yourself is telling the Court that you do not want to be part of the Class or
the lawsuit. If you exclude yourself, you have no standing to object because the case no longer affects you.

THE LAWYERS REPRESENTING YOU

 

17. Do I have a lawyer in this case?

The Court has appointed W. Joseph Bruckner of Lockridge Grindal Nauen P.L.L.P. and Bruce L. Simon of Pearson,
Simon & Warshaw, LLP as Co-Lead Counsel on behalf of Direct Purchaser Plaintiffs and Class Members. Their
contact information is provided above in question 15.

If you wish to remain a Class Member, you do not need to hire your own lawyer because Co-Lead Counsel is working
on your behalf.

If you wish to pursue your own case separate from this one, or if you exclude yourself from the Settlement Class, these
lawyers will no longer represent you. You will need to hire your own lawyer if you wish to pursue your own lawsuit
against Fieldale.

 

18. How will the lawyers be paid?

 

 

At this time, Co-Lead Counsel are not asking the Court to award any attorneys’ fees from the Settlement with Fieldale
Farms. In the future, Co-Lead Counsel may ask the Court to award attorneys’ fees and reimbursement of reasonable
and necessary litigation expenses from the Fieldale Settlement or any other settlement or other recovery in this
litigation. At such time, and prior to any Court approval, Class Members will be provided with notice of the amount of
fees or expenses sought by Class Counsel and the opportunity to be heard by the Court. You will not have to pay any
fees or costs out-of-pocket.

THE COURT’S FAIRNESS HEARING
19. When and where will the Court decide whether to approve the Settlement?

 

 

 

 

The Court will hold a hearing to decide whether to approve the Settlement. You may attend and you may ask to speak,
but you don’t have to. The Court will hold a Fairness Hearing at 9:00 a.m. on November 13, 2018, at the United States
District Court for the Northern District of Illinois, Dirksen Federal Building, 219 South Dearborn Street, Chicago,
Illinois in Courtroom 1441. At this hearing, the Court will consider whether the Settlement is fair, reasonable, and
adequate. If there are objections, the Court will consider them. The Court will listen to people who have asked to

speak at the hearing. After the hearing, the Court will decide whether to approve the Settlement. We do not know
how long these decisions will take.

20. Do [have to come to the hearing? _

 

No. Co-Lead Counsel will answer any questions the Court may have. However, you are welcome to come at your own
expense. If you send an objection, you do not have to come to court to talk about it. As long as you mailed your

Questions? Call the Settlement Administrator toll-free at 1-866-552-1178 or visit www.broilerchickenantitrustlitigation.com.
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written objection on time, the Court will consider it. You may also pay your own lawyer to attend, but it’s not
necessary.

 

 

21. May I speak at the hearing?

 

 

You may ask to speak at the Fairness Hearing. To do so, you must send a letter saying that it is your “Notice of
Intention to Appear in Jn re: Broiler Chicken Antitrust Litigation.” Be sure to include your name, including the name
of your business which purchased Broiler chicken, current mailing address, telephone number, and signature. Your
Notice of Intention to Appear must be postmarked no later than October 15, 2018, and it must be sent to the Clerk of
the Court, Co-Lead Counsel, and Defense Counsel. The address for the Clerk of the Court is: Dirksen Federal
Building, 219 South Dearborn Street, Chicago, Illinois. The addresses for Co-Lead Counsel and Defense Counsel are
provided in Question 15. You cannot ask to speak at the hearing if you excluded yourself from the Fieldale
Settlement.

GETTING MORE INFORMATION

 

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22. How do I get more information about the Settlement?

 

 

This notice summarizes the proposed Settlement. More details are in the Fieldale Settlement Agreement. You can
find a copy of the Settlement Agreement, other important documents, and information about the current status of the
litigation by visiting www.broilerchickenantitrustlitigation.com. You may contact the Settlement Administrator at
info@broilerchickenantitrustlitigation.com or toll-free at 1-866-552-1178. You may also contact Co-Lead Counsel at
the address, phone number, and email address provided in Question 15.

PLEASE DO NOT CONTACT THE COURT REGARDING THIS NOTICE.

Questions? Call the Settlement Administrator toll-free at 1-866-552-1178 or visit www.broilerchickenantitrustlitigation.com.
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COURT-APPROVED LEGAL NOTICE

If you purchased Broiler chicken directly from a Broiler Chicken Producer for use or delivery in the
United States from January 1, 2008 through August 18, 2017, a class action settlement may affect your
rights.

Para una notificacion in espaiiol, llame gratis al 1-866-552-1178
o visite nuestro website www. broilerchickenantitrustlitigation.com.

A settlement has been proposed between Direct Purchaser Plaintiffs and Fieldale Farms Corporation in a class action antitrust lawsuit
about Broiler chickens sold in the United States between January 1, 2008 and August 18, 2017. This Court-ordered notice may affect
your rights. Please review and follow the instructions carefully.

The United States District Court for the Northern District of Illinois authorized this notice. Before any money is paid, the Court will
hold a hearing to decide whether to approve the Settlement.

WHO Is INCLUDED?

For settlement purposes, Class Members are defined as all persons (including businesses and companies) who purchased Broilers
directly from any of the Defendants or any co-conspirator identified in this action, or their respective subsidiaries or affiliates, for use
or delivery in the United States from at least as early as January 1, 2008 until August 18, 2017. If you are not sure you are included,
you can get more information, including a detailed notice, at www.broilerchickenantitrustlitigation.com or by calling toll-free 1-866-
552-1178.

Specifically excluded from the Class are the Defendants; the officers, directors, or employees of any Defendant; any entity in which
any Defendant has a controlling interest; and any affiliate, legal representative, heir, or assign of any Defendant. Also excluded from
the Class are any federal, state, or local governmental entities, any judicial officer presiding over this action and the members of
his/her immediate family and judicial staff, any juror assigned to this action, and any co-conspirator identified in this action.

WHAT IS THIS ABOUT?

The lawsuit claims that Broiler chicken producers including Fieldale Farms combined and conspired in restraint of trade, the purpose
and effect of which was to suppress competition and allow them to charge supra-competitive prices for Broilers during the Class
Period, in violation of federal law. Fieldale Farms vigorously and affirmatively denies it did anything wrong, and denies that it in any
way conspired with competitors to restrain trade or suppressed competition to charge supra-competitive prices. The Court did not
decide which side was right, but both sides agreed to the Settlement to resolve the case. The case is still proceeding on behalf of the
Direct Purchaser Plaintiffs against all other Defendants.

WHAT DOES THE SETTLEMENT PROVIDE?

Fieldale Farms will pay $2,250,000 as a monetary payment. In addition to this monetary benefit, as part of the Settlement Agreement
Fieldale Farms has also agreed to cooperate in good faith with Direct Purchaser Plaintiffs and Settlement Class Counsel in regard to the
ongoing litigation against the non-settling Defendants. This cooperation includes producing relevant documents, making current or former
employees available for interviews and depositions, and providing a description of certain facts known to Fieldale that the Direct
Purchaser Plaintiffs contend are relevant to the conduct at issue in the litigation. Class Counsel are not seeking to recover attorneys’ fees
and do not plan for distribution of settlement proceeds to the Class Members at this time, but may do so at a future date subject to further
notice.

WHAT ARE YOUR RIGHTS AND OPTIONS?

You do not need to take any action to remain a Class Member and be bound by the Settlement. As a Class Member, you may be able
to participate in any future settlement or judgment obtained by Direct Purchaser Plaintiffs against other Defendants in the case. If
you don’t want to be legally bound by the Settlement, you must exclude yourself by October 15, 2018 or you won’t be able to sue or
continue to sue Fieldale Farms about the legal claims in this case. If you exclude yourself, you can’t get money from the Settlement.
If you stay in the Settlement, you may object to it by October 15, 2018. The detailed notice explains how to exclude yourself or
object. Details may also be found on the FAQs page of the settlement website. The Court will hold a hearing in this case (Jn re:
Broiler Chicken Antitrust Litigation, Case No. 16-cv-08637) on November 13, 2018 at 9:00 a.m. to consider whether to approve the
Settlement. You may ask to speak at the hearing, but you don’t have to.

This notice is only a summary. You can find more details about the Settlement at www.broilerchickenantitrustlitigation.com or by
calling toll-free 1-866-552-1178. Please do not contact the Court.
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Subject Line: “Legal Notice re: Broiler Chicken Antitrust Litigation”
COURT-APPROVED LEGAL NOTICE

If you purchased Broiler chicken directly from a Broiler Chicken Producer for use or delivery in the United States
from January 1, 2008 through August 18, 2017, a class action settlement may affect your rights.

Para una notificacion in espanol, llame gratis al 1-866-552-1178
o visite nuestro website www.broilerchickenantitrustlitigation.com

 

A settlement has been proposed between Direct Purchaser Plaintiffs and Fieldale Farms Corporation in a class action
antitrust lawsuit about Broiler chickens sold in the United States between January 1, 2008 and August 18, 2017. This
Court-ordered notice may affect your rights. Please review and follow the instructions carefully.

The United States District Court for the Northern District of Illinois authorized this notice. Before any money is paid, the
Court will hold a hearing to decide whether to approve the Settlement.

WHO IS INCLUDED?

For settlement purposes, Class Members are defined as all persons (including businesses and companies) who purchased
Broilers directly from any of the Defendants or any co-conspirator identified in this action, or their respective subsidiaries
or affiliates, for use or delivery in the United States from at least as early as January 1, 2008 until August 18, 2017. If

you are not sure you are included, you can get more information, including a detailed notice, at
www.broilerchickenantitrustlitigation.com or by calling toll-free 1-866-552-1178.

Specifically excluded from the Class are the Defendants; the officers, directors, or employees of any Defendant; any
entity in which any Defendant has a controlling interest; and any affiliate, legal representative, heir, or assign of any
Defendant. Also excluded from the Class are any federal, state, or local governmental entities, any judicial officer
presiding over this action and the members of his/her immediate family and judicial staff, any juror assigned to this
action, and any co-conspirator identified in this action.

WHAT IS THIS ABOUT?

The lawsuit claims that Broiler chicken producers including Fieldale Farms combined and conspired in restraint of trade,
the purpose and effect of which was to suppress competition and allow them to charge supra-competitive prices for
Broilers during the Class Period, in violation of federal law. Fieldale Farms vigorously and affirmatively denies it did
anything wrong, and denies that it in any way conspired with competitors to restrain trade or suppressed competition to
charge supra-competitive prices. The Court did not decide which side was right, but both sides agreed to the Settlement to
resolve the case and get benefits to the Class. The case is still proceeding on behalf of the Direct Purchaser Plaintiffs
against all other Defendants.

WHAT DOES THE SETTLEMENT PROVIDE?

Fieldale Farms will pay $2,250,000 as a monetary payment. In addition to this monetary benefit, as part of the Settlement
Agreement Fieldale Farms has also agreed to cooperate in good faith with Direct Purchaser Plaintiffs and Settlement Class
Counsel in regard to the ongoing litigation against the non-settling Defendants. This cooperation includes producing relevant
documents, making current or former employees available for interviews and depositions, and providing a description of
certain facts known to Fieldale that the Direct Purchaser Plaintiffs contend are relevant to the conduct at issue in the litigation.
Class Counsel are not seeking to recover attorneys’ fees and do not plan for distribution of settlement proceeds to the Class
Members at this time, but may do so at a future date subject to further notice.

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